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                                                                     MAR 2 2021

                                                                  U.S. DISTRICT COURT
                                                                EASTERN DISTRICT OF MO
                                                                        ST. LOUIS
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                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEIZURE WARRANT

       I, Jordan Willer, Task Force Officer, Federal Bureau of Investigation, being duly sworn,

depose and state as follows:

                             INTRODUCTION AND BACKGROUND

       1.      I, Jordan Willer, am a Task Force Officer with the Federal Bureau of Investigation

and have been so deputized for the past 7 months. I have been a Police Officer for 12 ½ years and

a Detective for the last 6 years, assigned to the St. Louis County Police General Assignment Unit

and the Intelligence Unit.     I am assigned to the St. Louis, Missouri, field office where I have

participated in public corruption and civil rights investigations of various kinds. I am responsible

for, among other assignments, conducting investigations of alleged criminal violations of Title 18,

United States Code, Sections 1343, wire fraud, and money laundering, including Sections 1956

and 1957.

       2.      I have personally participated in investigations involving the violations of federal

law regarding bank fraud, wire fraud and other federal violations such as money laundering that

result from such unlawful activity. I have personally participated in the execution of search

warrants and seizure warrants, involving the search for various types of evidence and property. As

a deputized task force officer with the Federal Bureau of Investigation, I am authorized to

investigate violations of the laws of the United States and to seek forfeiture of property under the

authority of the United States.

       3.      The Office of the Inspector General for the U.S. Small Business Association, Office

of the Inspector General for the Social Security Administration, and the Federal Bureau of

Investigation (“FBI”) have been investigating a fraud scheme involving Terrell Alexander
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(“Alexander”) and others, known and unknown, and several associated entities as described

throughout this affidavit, for violations: of wire fraud (18 U.S.C. § 1343), money laundering (18

U.S.C. § 1957), and conspiracy to commit violations of wire fraud, and money laundering (18

U.S.C. §§ 371, 1349, 1956(h)), and identity theft (18 U.S.C. § 1028(a)(7)) (collectively referred to

hereinafter as the “Subject Offenses”) by and through a scheme to defraud and obtain COVID-19

Economic Injury Disaster Loans (“EIDL”) loan proceeds by filing false and fraudulent EIDL loan

applications with the Small Business Administration (“SBA”), including through the use of

unassigned or fraudulent social security numbers. Based on the results of this investigation, there

is probable cause to believe that, between approximately February 16, 2020, and September 2,

2020, Alexander and his associates fraudulently obtained in excess of $1,400,000 through such

scheme, and that Alexander used some of these criminal proceeds to transfer funds between

various financial accounts in violation of Title 18, United States Code, Section 1957. As such, the

property described in Attachment A is subject to civil and criminal forfeiture.

       4.      On December 22, 2020, United States Magistrate Judge Stephen R. Welby signed

numerous seizure warrants for bank accounts associated with the fraud scheme discussed in this

affidavit (Case No. 4:20-MJ-8118 to 8134). In addition, on January 8, 2021, United States

Magistrate Judge David D. Noce signed two seizure warrants for bank accounts associated with

the fraud scheme discussed in this affidavit (Case No. 4:21-MJ-27 to 28). This affidavit contains

facts related to all previously seized accounts, but only seeks a warrant to seize one account, as set

forth in paragraphs 94 through 100.




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        5.      This affidavit does not contain all the information known to me in regard to the

investigation; however, it contains enough information to establish probable cause to authorize the

seizure of the property described in Attachment A.

                                     STATUTORY FRAMEWORK

        6.      18 U.S.C. § 1343 (wire fraud) criminalizes devising or intending to devise a scheme

to defraud (or performing specific fraudulent acts) through the use of an interstate telephone call

or electronic communication.

        7.      18 U.S.C. § 1028(a)(7) (identity theft) criminalizes knowingly using, without

lawful authority, a means of identification of another person with intent to commit, or to aid or

abet, or in connection with, any unlawful activity that constitutes a violation of Federal law.

        8.      The proceeds of wire fraud and identity theft are subject to forfeiture under both

civil and criminal forfeiture authorities. Pursuant to 18 U.S.C. § 981(a)(1)(C), any property, real

or personal, which constitutes or is derived from proceeds traceable to wire fraud or identity theft

is subject to civil forfeiture. In addition, 28 U.S.C. § 2461(c) provides that, “[i]f a person is

charged in a criminal case with a violation of an Act of Congress for which the civil or criminal

forfeiture of property is authorized,” then the government can obtain forfeiture of property “as part

of the sentence in the criminal case.” Thus, pursuant to 28 U.S.C. § 2461(c) and 18 U.S.C.

§ 981(a)(1)(C), any property, real or personal, which constitutes or is derived from proceeds

traceable to wire fraud or identity theft is subject to criminal forfeiture. Finally, pursuant to 18

U.S.C. § 982(a)(2)(B), any property constituting, or derived from, proceeds obtained directly or

indirectly, as a result of a violation of identity theft is subject to criminal forfeiture.




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       9.      18 U.S.C. § 1957 (the money laundering spending statute) criminalizes knowingly

engaging or attempting to engage in a monetary transaction in criminally derived property from a

specified unlawful activity (including mail and wire fraud) in an amount greater than $10,000.

       10.     Property involved in a money laundering offense is subject to forfeiture under both

civil and criminal forfeiture authorities. Pursuant to 18 U.S.C. § 981(a)(1)(A), any property, real

or personal, involved in a transaction or attempted transaction in violation of 18 U.S.C. § 1957, or

any property traceable to such property, is subject to civil forfeiture. In addition, pursuant to 18

U.S.C. § 982(a)(1), any property, real or personal, involved in a violation of 18 U.S.C. § 1957, or

any property traceable to such property, is subject to criminal forfeiture. Forfeiture pursuant to

these statutes applies to more than just the proceeds of the crime. These forfeitures encompass all

property “involved in” the crime, which can include untainted funds that are comingled with

tainted funds derived from illicit sources.

       11.     This application seeks a seizure warrant under both civil and criminal authority

because the property to be seized could be placed beyond process if not seized by warrant.

       12.     Pursuant to 18 U.S.C. § 981(b), property subject to civil forfeiture may be seized

by a civil seizure warrant issued by a judicial officer “in any district in which a forfeiture action

against the property may be filed,” and may be executed “in any district in which the property is

found,” if there is probable cause to believe the property is subject to forfeiture. A civil forfeiture

action may be brought in any district where “acts or omissions giving rise to the forfeiture

occurred.” 28 U.S.C. § 1355(b)(1)(A). As detailed below, acts or omissions in furtherance of the

fraud and money laundering scheme under investigation occurred in the Eastern District of

Missouri. The criminal forfeiture statute, 18 U.S.C. § 982(b)(1), incorporates the procedures in 21

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U.S.C. § 853 (other than subsection (d)) for a criminal forfeiture action. 21 U.S.C. § 853(f)

provides authority for the issuance of a seizure warrant for property subject to criminal forfeiture.

        13.    Based on the foregoing, the issuance of this seizure warrant is authorized under 21

U.S.C. § 853(f) and 18 U.S.C. § 982(b)(1) for criminal forfeiture; and 18 U.S.C. §§ 981(b) and

984 for civil forfeiture. Notwithstanding the provisions of Rule 41(a) of the Federal Rules of

Criminal Procedure, the issuance of this seizure warrant in this district is appropriate under 18

U.S.C. § 981(b)(3) and 28 U.S.C. § 1355(b)(1) because acts or omissions giving rise to the

forfeiture occurred in the Eastern District of Missouri.

                                      PROBABLE CAUSE

        The CARES Act and EIDL Loans

        14.    The U.S. Small Business Administration (“SBA”) is an executive branch agency of

the United States that provides support to entrepreneurs and small businesses. The mission of the

SBA is to maintain and strengthen the nation’s economy by enabling the establishment and

viability of small businesses and by assisting in the economic recovery of communities after

disasters.

        15.    The Coronavirus Aid, Relief, and Economic Security (“CARES”) Act was a federal

law enacted in or around March 2020 and designed to provide emergency financial assistance to

the millions of Americans who were suffering the economic effects caused by the COVID-19

pandemic. One source of relief provided by the CARES Act was the authorization of long-term

direct loans to small businesses to provide economic relief to businesses that are experiencing a

temporary loss of revenue, through EIDL.

        16.    The SBA Office of Disaster Assistance (“ODA”) controls the EIDL program and

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is headquartered in Washington, DC. The ODA has authority over all loans issued and disbursed

under the EIDL program. EIDL principal proceeds are solely funded by the SBA and are disbursed

from government-controlled accounts maintained with the U.S. Treasury at Federal Reserve Banks

throughout the United States. Funds are deposited via Automated Clearing House (“ACH”)

transfers, which are a type of electronic bank transfer of funds. All payments are processed by the

SBA from Denver, Colorado. If an EIDL loan application was approved, the applicant would be

required by SBA to electronically sign loan closing documents. Loan proceeds would then be

transferred to a bank account provided by the applicant.

        17.    According to the SBA, the EIDL proceeds could be used by afflicted businesses,

which must have existed in an operational condition on February 1, 2020, to cover a wide array of

working capital and normal operating expenses such as continuation of health care benefits, rent,

utilities, and fixed debt payments that could have been met had the disaster not occurred. Small

businesses owners may apply for these loans.

        18.    Unlike other CARES act loans administered by the SBA (i.e. Paycheck Protection

Program) EIDLs are not forgivable and are required to be paid back at an interest rate ranging from

2.75-3.75% APR over a 30-year term. Payments are deferred for one year, interest still accrues

and the borrower may make payments if they choose to do so. Collateral is required for loans over

$25,000.00. The SBA uses a general security agreement designating any business assets as

collateral.

        19.    Applicants applied for EIDLs online through the SBA’s website. SBA relied on

self-certifications to verify if an applicant was an eligible entity. Applicants made these self-

certifications under the penalty of perjury. Applicants were required to state, among other things,

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their: (a) social security number; (b) gross revenues for the twelve months prior to January 31,

2020; (c) cost of goods sold for the twelve months prior to January 31, 2020; (d) business activity;

(e) date business established and (f) number of employees. These figures were used by the SBA to

calculate the amount of money the small business was eligible to receive under the EIDL program.

If an EIDL loan application was approved, the applicant would be required to sign the loan

documents and loan proceeds would be transferred to bank accounts within 5-10 business days.

       The Subject EIDL Loans

       20.     The United States is investigating Alexander, and others known and unknown, for

violations of the Subject Offenses by and through a scheme to defraud and obtain EIDL loan

proceeds by filing false and fraudulent EIDL loan applications with the SBA, including through

the use of false or fraudulent social security numbers and driver’s licenses.

       21.     Between approximately July 9, 2020, and November 4, 2020, Alexander and others

were associated with the following SBA EIDL loan applications by and through various fraudulent

businesses and business bank accounts opened with Regions Bank, Busey Bank and Unify

Financial Credit Union. The transactions related to these loans and bank accounts are actively

under investigation. The below chart shows those EIDL loan transactions, totaling in excess of

$1,400,000, that are relevant to this seizure warrant application:




                                                 7
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    Business      Address        Signor       Claimed    Alleged       Date       Amount of
                                               Gross      # of         Loan         Loan
                                              Revenue    Employ       Signed       (Actual
                                                           ees                    Payment)
    Florentine   5220          Shawn          $375,000         81     06/25/20        $8,000
    Investment   Edgemere      Woodhouse                              07/02/20       $10,000
    LLC          Dr.,                                                 07/09/20      $106,900
                 Blackjack,                                           07/22/20       $50,400
                 MO 63033

    Direct      1409           Terrell        $759,000           1    06/27/20         $1,000
    Management Washington      Alexander                              07/08/20       $149,900
    LLC         Ave., Suite
                218, St.
                Louis, MO
                63103
    Prime       400            Danny          $487,907         27     07/25/20       $149,900
    Corporate   Chesterfield   Walters
    Investment  Center,
    LLC         Chesterfield
                , MO 63017
    Black       2 Cityplace    Demetrice      $625,000           9    07/24/20       $149,900
    Enterprise  Dr., St.       Black
    Corporate   Louis, MO
    LLC         63141
    Total CPA   12400          Terrell        $303,177           9    08/07/20       $111,800
    LLC         Olive Blvd.,   Alexander
                Creve
                Coeur, MO
                63141
    Corporate   112 Long       Cecill Jones   $429,723         23     08/07/20       $149,900
    Enterprise  and
    Investments Winding
    LLC         Road, St.
                Peters, MO
                63376




1
  Florentine Investment LLC applied for and received four separate EIDL loans. On three of the
applications (dated 6/25/20, 7/2/2020 and 7/9/2020), Woodhouse listed 8 employees for Florentine
Investment LLC. However, on the 7/22/2020 loan application (for which the entity received a
$50,400 loan), Woodhouse listed 57 employees.
                                                8
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 JCC         1716             Joe Cohen       $339,899          37     08/10/20       $121,100
 Personnel   Woodstrea
 Management  m Ct., St.
 Company     Louis, MO
 LLC         63138
 Top Knotch  15542            Joe Cohen       $279,999          12     08/27/20       $110,000
 Marketing   Chaste,
 LLC         Florissant,
             MO 63034
 Jones       4120             Brittaney       $347,239          27     08/31/20       $133,900
 Corporate   Delmar           Jones
 Manufacturi Blvd., St.
 ng LLC      Louis, MO
             63108
 Qutumn      1939             Terrell         $389,874          27     07/28/20       $149,900
 Management Wentzville        Alexander
 LLC         Parkway,
             Suite 23,
             Wentzille,
             MO 63385
 Carter      5220             Ivan Carter     $172,000           9     07/04/20        $63,500
 Corporate   Edgemere,
 Healthcare  Black Jack,
 LLC         MO 63033



       22.    The investigation has revealed that Alexander is associated with each of the

businesses that received these SBA EIDL loans. In addition, Alexander either established or was

involved with establishing the bank accounts that received the SBA EIDL loan proceeds.

Specifically, Alexander was either present during account opening or the known additional parties

indicated that they were opening accounts at the direction of Alexander for mutual business

purposes. In addition, a common address (i.e. 5520 Edgemere Drive, Blackjack, MO 63033) listed

as the address associated with Alexander and Shawn Woodhouse for the State of Missouri Articles

of Organization for Florentine Investments LLC, is also associated with numerous individuals, to

include, Danny Walters (Prime Corporate Investment LLC), Cecil Jones (Corporate Enterprise
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Investments LLC), Brittaney Jones (Jones Corporate Manufacturing LLC), Demetrice Black

(Black Enterprise Corporation LLC), Terrell Alexander (Florentine Investments LLC and Direct

Management LLC) and Shawn Woodhouse (Florentine Investments LLC).

       23.       The below information shows additional links between Alexander and the

borrowing entities:

                 a.    Florentine Investment LLC: Alexander is previously listed as a registered

agent and organizer on the State of Missouri Articles of Organization. Alexander and the current

registered agent for this entity, Shawn Woodhouse, both listed an address of 5220 Edgemere Dr.,

Blackjack, MO 63033.

                 b.    Direct Management LLC: Alexander is listed as a registered agent for the

State of Missouri Articles of Organization. In the EIDL Borrower Application Form, Alexander

is listed as the 100 percent member owner. Alexander’s address is listed as 1409 Washington Ave,

St. Louis, MO.

                 c.    Prime Corporate Investment LLC: Danny Walters is listed as a registered

agent for the State of Missouri Articles of Organization. In the EIDL Borrower Application Form,

Walters is listed as the 100 percent member owner. Walter’s address is listed as 400 Chesterfield

Center, Chesterfield, MO.

                 d.    Black Enterprise Corporate LLC: Demetrice Black is listed as the

registered agent for the State of Missouri Articles of Organization. In the EIDL Borrower

Application Form, Black is listed at the 100 percent member owner. Black’s address is listed as 2

Cityplace Drive, St. Louis, MO.




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              e.       Total CPA LLC: Alexander is listed as a registered agent on the State of

Missouri Articles of Organization. In the EIDL Borrower Application Form, Alexander is listed

as the 100 percent owner.

              f.      Corporate Enterprise Investments LLC: Cecill Jones is listed as the

registered agent on the State of Missouri Articles of Organization. In the EIDL Borrower

Application Form, C. Jones is listed as the 100 percent member owner. C. Jones’ address is listed

as 112 Long and Winding Road, St. Peters, MO.

              g.      JCC Personnel Management Company LLC: Joe Cohen is listed as the

registered agent on the State of Missouri Articles of Organization. In the EIDL Borrower

Application Form, Cohen is listed as the 100 percent member owner. Cohen’s address is listed as

1716 Woodstream Court, St. Louis, MO.

              h.      Top Knotch Marketing LLC: Joe Cohen is listed as the registered agent

on the State of Missouri Articles of Organization. In the EIDL Borrower Application Form, Cohen

is listed as 100 percent owner. Cohen’s address is listed as 2424 N Hwy 67, Florissant, MO.

              i.      Jones Corporate Manufacturing LLC: Brittaney Jones is listed as the

registered agent on the State of Missouri Articles of Organization. In the EIDL Borrower

Application Form, B. Jones is listed as the 100 percent member owner. B. Jones’ address is listed

as 4120 Delmar Boulevard, St. Louis, MO.

              j.      Qutumn Management LLC: Terry Anderson is listed as the registered

agent on the State of Missouri Articles of Organization with an address of 1332 Peine Lake Drive,

Wentzville, MO. In the EIDL Borrower Application Form, Alexander is listed as the 100 percent

member owner with an address of 1939 Wentzville Parkway, Suite 23, Wentzille, MO 63385.

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               k.     Carter Corporate Healthcare LLC: Ivan Carter is listed as the registered

agent on the State of Missouri Articles of Organization with an address of 5220 Edgemere Dr,

Florissant, MO. In the EIDL Borrower Application Form, Carter is listed as the 100 percent

member owner with an address of 1232 N. Laramie, Chicago, IL 60651.

       24.     Your affiant conducted surveillance of the above listed addresses between

November 23, 2020, and November 25, 2020. As observed by your affiant, none of the listed

addresses have any signage identifying the businesses that allegedly use these addresses, or any

vehicles parked near the buildings that have any signage regarding these businesses. Specifically,

your affiant determined that:

               a.     Florentine Investment LLC – the listed address is a single-family dwelling

located in a residential neighborhood with no signage identifying a business;

               b.     Direct Management LLC – the listed address is a UPS Store front;

               c.     Prime Corporate Investments LLC; Black Enterprise Corporate LLC;

and Corporate Enterprise Investment LLC – each listed address is a separate office/commercial

building that leases office space; however, in each case, none of these entities were ever

documented tenants;

               d.     Total CPA LLC – the listed address is a senior living facility;

               e.     JCC Personnel Management LLC – the listed address is a single-family

dwelling located in a residential neighborhood with no signage identifying a business;

               f.     Top Knotch Marketing LLC – the listed address is a single-family

dwelling located in a residential neighborhood with no signage identifying a business; and




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               g.      Jones Corporate Manufacturing LLC – the listed address is a single-

family dwelling located in a residential neighborhood with no signage identifying a business.

        25.    In addition, your affiant reviewed the EIDL loan applications for each entity and

noted that the applications contained a social security number that was either unassigned2 or was

assigned to an individual who was not associated with the loan application. Specifically, the loan

applications for Prime Corporate Investments LLC, Black Enterprise Corporate LLC, Total CPA

LLC, Corporate Enterprise Investment LLC and Qutumn Management LLC each listed an

unassigned social security number on the applications. In addition, the loan applications for Direct

Management LLC and Jones Corporate Manufacturing LLC each listed a social security number

on the applications that belong to another individual who is not associated with the loan

application. The loan applications for Florentine Investments LLC (Shawn Woodhouse), JCC

Personnel Management LLC and Top Knotch Marketing LLC (Joe Cohen) each listed accurate

social security numbers for the borrower listed.

        26.    Further investigation revealed that several of the EIDL loan applications were

submitted with false or fraudulent identifications.      For example, the Corporate Enterprise

Investments LLC loan application includes an invalid Missouri driver’s license for “Cecill Jones.”3

In addition, the Jones Corporate Manufacturing LLC loan application includes an invalid Missouri




2
 An unassigned social security number is one that has not officially been assigned to an individual
by the Social Security Administration.

3
 The picture on the invalid “Cecill Jones” MO DL matches the picture on a true “Cecil Jones”
MO DL issued under a different license number.

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driver’s license for “Brittaney Jones.”4 Finally, the Qutumn Management LLC loan application

submitted by Alexander includes an invalid Missouri driver’s license for him.5

          27.    Your affiant also notes that several of the borrowing entities for the SBA EIDL

loans appear to be professional organizations. Notwithstanding, none of the individuals purported

to be associated with the businesses and/or loan applications hold or have held a professional

license in the State of Missouri associated with CPAs, investments, management or marketing.

          28.    On December 15, 2020, your affiant and SSA-OIG Special Agent Joel Ferris

interviewed Joe Cohen,6 who is associated with JCC Personnel Management Company LLC and

Top Knotch Marketing LLC. Cohen stated that he received funds from three separate SBA EIDL

loans, including one in his own name (loan #7955958107 in the amount of $29,500), one with JCC

Personnel Management Company LLC (loan #6078078204 in the amount of $121,200), and one

with Top Knotch Marketing LLC (loan #7049798203 in the amount of $110,100). Cohen stated

that he only completed one of the loan applications himself (i.e. the $29,500 loan), and that the

others were completed on Cohen’s behalf by Alexander, who Cohen identified as a work associate.

Cohen stated that Alexander approached Cohen and offered to complete the additional loan

applications for Cohen, and Cohen agreed.         Cohen provided Alexander with his personal




4
 The picture on the invalid “Brittaney Jones” MO DL matches the picture on a true “Brittany
Jones” MO DL (issued under a different license number).
5
    The individual depicted on the invalid “Terrell Alexander” MO DL is not Alexander.
6
 Cohen has an active license through the Real Estate Commission in St. Louis County as a
Broker Associate (Licensee #1999140275). Cohen has held this license since 11/18/99, and it
expires on 6/30/22. He has a professional affiliation with Reality Unlimited LLC effective
3/16/20.
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identifiable information and banking information, and Alexander completed the loan applications

for JCC Personnel Management Company LLC and Top Knotch Marketing LLC. Cohen stated

that the loan paperwork for these loans contained false information, and further stated that Cohen

has no employees, is self-employed and the claimed gross revenue of the loan applications was

inaccurate, as it was extremely inflated. Cohen confirmed receiving the proceeds from these loans.

Cohen stated the funds received were being utilized to purchase and rehabilitate properties in the

St. Louis region to ultimately rent or sell for profit. Cohen admitted to sending funds to Direct

Management LLC and Florentine Investments LLC, which both are associated with Alexander.7

Cohen also made several cash withdrawals from his accounts in order to purchase construction

materials, pay contractors and to pay Alexander money owed related to their business of

rehabilitating houses.8

        29.    Finally, as further described below, your affiant notes that most of the bank

accounts that received the SBA EIDL loan proceeds were opened at Regions Bank after March 25,

2020, and that the loan proceeds were used for daily personal expenses, travel expenses, food and

entertainment, retail and online retail purchases, vehicle purchase, large transfers of funds between




7
  As further described below, a financial analysis confirmed transfers of funds from Cohen’s
account (JCC Personnel Management Company account #286879855) to (Direct Management
LLC account #266061334) in the amount of $21,000 and from (Top Knotch Marketing LLC
account #286879979) to (Florentine Investment LLC account #261999539) in the amount of
$32,645.
8
  Your affiant notes that neither JCC Personnel Management Company LLC nor Top Knotch
Marketing LLC listed construction or home remodeling as a business activity on the SBA EIDL
loan applications.

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other listed accounts, online money transfers to family members and large cash withdrawals.

These expenditures conflict with the terms of the respective SBA EIDL loan agreements stating

that the loan proceeds are designated for working capital and normal business operating expenses.

       30.     Based on the foregoing, your affiant respectfully submits that Alexander and others

have perpetrated a fraud scheme wherein various entities applied for and received SBA EIDL loan

proceeds based on false and fraudulent representations, and in some cases, through the use of

unassigned or fraudulent social security numbers and/or Missouri driver’s licenses.

                               THE FINANCIAL ACCOUNTS

       31.     Your affiant worked with other investigators to identify and trace the funds

obtained by Alexander and others as proceeds of the aforementioned fraud scheme.                  The

investigative team has conducted a review of financial records associated with the investigation,

including bank statements, bank deposit records, checks, cashier’s checks, and any other financial

records obtained during the course of the investigation, in order to trace funds related to the illegal

activity and determine the origin of funds.

       32.     As stated above, Alexander either established or was involved with establishing the

bank accounts that received the above SBA EIDL loan proceeds. Based on this investigation, your

affiant discovered that Alexander, or known associates of Alexander, controlled at least sixteen

bank accounts during the period of the fraudulent scheme that received fraudulent EIDL loan

proceeds from the Small Business Administration.

       33.     On December 22, 2020, United States Magistrate Judge Stephen R. Welby, signed

seizure warrants for funds from the following bank accounts (Case No. 4:20-MJ-8118 to 8134):




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    Account       Description                     Account Information             Balance9
    Account #1    Regions Bank account ending     Opened 4/2019
                  in #9539 held in the name of    Signor: Shawn Woodhouse
                  Florentine Investment LLC                                          $1,045.01
    Busey         Busey Bank account ending in    Opened 11/2020
    Account       #2239 held in the name of       Signor: Terrell Alexander
                  Florentine Investments LLC                                          $22,000
    Account #2    Regions Bank account ending     Opened 1/2020
                  in #2315 held in the name of    Signor: Shawn Woodhouse
                  Shawn Woodhouse                                                    $1,803.19
    Account #3    Regions Bank account ending     Opened 8/2013
                  in #1334 held in the name of    Signor: Terrell Alexander
                  Direct Management LLC                                            $68,319.07
    Account #4    Regions Bank account ending     Opened 8/2013
                  in #7809 held in the name of    Signor: Terrell Alexander
                  Direct Management LLC                                            $67,864.48
    Account #5    Regions Bank account ending     Opened 3/2020
                  in #3014 held in the name of    Signor: Danny Walters
                  Prime Corporate Investment
                  LLC                                                                $3,467.18
    Account #6    Regions Bank account ending     Opened 3/2020
                  in #3294 held in the name of    Signor: Danny Walters
                  Prime Corporate Investment
                  LLC                                                              $25,775.33
    Account #7    Regions Bank account ending     Opened 3/2020
                  in #3286 held in the name of    Signor: Demetrice Black
                  Black Enterprise Corporation
                  LLC                                                              $19,533.29
    Account #8    Regions Bank account ending     Opened 3/2020
                  in #3243 held in the name of    Signor: Demetrice Black
                  Black Enterprise Corporation
                  LLC                                                                $2,970.63
    Account #9    Regions Bank account ending     Opened 8/2020
                  in #9987 held in the name of    Signor: Terrell Alexander
                  Total CPA LLC                                                    $12,286.00
    Account #10   Regions Bank account ending     Opened 8/2020
                  in #9995 held in the name of    Signor: Terrell Alexander
                  Total CPA LLC                                                   $100,486.00




9
 With the exception of Account #20, the balances represent the amount seized pursuant to federal
seizure warrants served on or about 12/28/20 and 1/8/21.
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 Account #11    Regions Bank account ending Opened 5/2020
                in #6053 held in the name of Signor: Cecil Jones
                Corporate Enterprise
                Investments LLC                                              $6,585.94
 Account #12    Regions Bank account ending Opened 5/2020
                in #6045 held in the name of Signors Cecil Jones
                Corporate Enterprise
                Investments LLC                                           $131,645.95
 Account #13    Regions Bank account ending Opened 7/2020
                in #9855 held in the name of Signor: Joe Cohen
                JCC Personnel Management
                Company                                                     $56,234.68
 Account #14    Regions Bank account ending Opened 7/2020
                in #9979 held in the name of Signor: Joe Cohen
                Top Knotch Marketing LLC                                    $34,884.22
 Account #15    Regions Bank account ending Opened 6/2020
                in #3227 held in the name of Signor: Brittaney Jones
                Jones Corporate
                Manufacturing LLC                                              $707.11
 Account #16    Regions Bank account ending Opened 6/2020
                in #3359 held in the name of Signor: Brittaney Jones
                Jones Corporate
                Manufacturing LLC                                           $52,424.74
 Account #17    Unify Financial Credit Union Opened 1/2017
                membership ending #0285      Signor: Terrell Alexander
                held in the name of Qutumn
                Management LLC                                                $149,900
 Account #18    Regions Bank account ending Opened 7/2019
                in #8583 held in the name of Signor: Terrell Alexander
                Florentine Investment LLC                                    $5,438.17
 Account #19    Regions Bank account ending Opened 7/2019
                in #8621 held in the name of Signor: Terrell Alexander
                Florentine Investment LLC                                   $13,072.34
 Account #20    Regions Bank account ending Opened 9/2020                   $52,613.18
                in #3183 held in the name of Signor: Ivan Carter
                Ivan Carter d/b/a Carter
                Corporate Healthcare LLC
The Florentine Investment LLC loan Proceeds – Account #1 (Regions account ending in
#9539), Busey Account (Busey Bank account ending in #2239), and Account #2 (Regions
Bank account ending in #2315)

       34.     As described below, the proceeds from the various fraudulent EIDL loans to

Florentine Investments LLC were deposited into Account #1 and Account #2.
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        35.     Account #1 was opened in April 2019. Shawn Woodhouse is the original signor

on the account documents. Between May 30, 2020, and October 30, 2020, the account had limited

activity. On June 6, 2020, and on July 13, 2020, there were ACH transfers from “SBAD Treas

310” into Account #1 in the amounts of $8,000 and $106,900, respectively. These funds are the

proceeds from the Florentine Investments LLC EIDL fraudulent loans on 6/25/2020 and 7/9/2020.

On July 29, 2020, there was a transfer to Account #4 in the amount of $50,000. On November 2,

2020, a $22,000 cashier’s check issued from Account #1 was deposited into Busey Bank account

ending in #2239 held in the name of Florentine Investments LLC (the “Busey Account”), which

account was opened by Alexander on 11/4/2020). The remaining activity in Account #1 does not

contain any transactions typically indicative of an operating business, such as customer receipts,

expenditures for payroll, utilities, rent, or supplies.

        36.     Account #2 was opened in January 2020. Shawn Woodhouse is the original signor

on the account documents. Between June 25, 2020, and October 8, 2020, the account had limited

activity. On July 7, 2020, and on July 24, 2020, there were ACH transfers from “SBAD Treas

310” into Account #2 in the amounts of $10,000 and $50,400, respectively. These funds are the

proceeds from the Shawn Woodhouse EIDL fraudulent loan dated 7/2/2020. On July 29, 2020,

there was a transfer to account #4 in the amount of $50,000. The remaining activity in Account

#2 does not contain any transactions typically indicative of an operating business, such as customer

receipts, expenditures for payroll, utilities, rent, or supplies.

        37.     The account activity in both Account #1 and Account #2 consisted of $60.00 in

credits and $150,419.23 in debits. These numbers do not support the purported $375,000 in gross




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revenues, the $162,000 in cost of goods sold or the 8 employees as represented on the EIDL loan

applications, and further provide probable cause that those representations are false and fraudulent.

       38.     As set forth above, as of the date of this affidavit, the balance in Account #1 is

$1,052.01, and the balance in Account #2 is $1,966.64.

       39.     In sum, I believe there is probable cause to seize all of the funds in Account #1 and

Account #2, and up to $22,000 in the Busey Account, because the funds are subject to forfeiture

as proceeds of wire fraud.

The Direct Management LLC loan proceeds - Account #3 (Regions account ending in
#1334) and Account #4 (Regions Bank account ending in #7809)

       40.     As described below, the proceeds from the two fraudulent EIDL loans to Direct

Management LLC were deposited into Account #3 and Account #4.

       41.     Account #3 was opened in September 2018. Terrell Alexander is the original signor

on the account documents. On June 30, 2020, and on July 9, 2020, there were ACH transfers from

“SBAD Treas 310” into Account #3 in the amounts of $1,000 and $149,900, respectively. These

funds are proceeds from the Direct Management, LLC fraudulent loans. As discussed above, the

application for these loans included a fraudulent social security number.

       42.     Account #4 was opened in July 2018. Terrell Alexander is the original signor on

the account documents. Between June 8, 2020 and July 10, 2020 there were five fund transfers

totaling $21,566 transfer from Account #3 into Account #4, which funds represent a portion of the

proceeds of the Direct Management fraudulent loans. In addition, on July 29, 2020, there was a

$50,000 from Account #1 into Account #4, which funds represent a portion of the proceeds of the

Florentine Investment LLC fraudulent loans. Finally, on July 29, 2020, there was another $50,000


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transfer from Account #2 into Account #4, which funds represent a portion of the proceeds of the

Florentine Investment LLC fraudulent loans.

       43.     Between June 8, 2020, and October 15, 2020, there were several other transfers to

and from Account #3 and Account #4 and other accounts in this investigation as further

summarized in Attachment B. Each of these transfers involved criminal proceeds of fraudulent

SBA EIDL loans.

       44.     As set forth above, as of the date of this affidavit, the balance in Account #3 is

$68,319.07 and the balance in Account #4 is $67,938.47.

       45.     In sum, I believe there is probable cause to seize all of the funds in Account #3 and

Account #4 because the funds are subject to forfeiture as proceeds of wire fraud and identity theft.

In addition, there is probable cause to seize all of the funds in Account #4 because the funds are

involved in a money laundering violation.

The Prime Corporate Investment LLC loan proceeds - Account #5 (Regions account ending
in #3014) and Account #6 (Regions account ending in #3294)

       46.     As described below, the proceeds from the fraudulent EIDL loan to Prime

Corporate Investment LLC were deposited into Account #5 and Account #6.

       47.     Account #5 was opened in March 2020. Danny Walters is the original signor on the

account documents. On July 28, 2020, an ACH transfer totaling $149,900 from “Sbad Treas 310”

was deposited into the account, which represents the proceeds from the Prime Corporate

Investment LLC EIDL fraudulent loan dated 7/25/2020. The loan application dated July 25, 2020,

listed gross revenues of $487,907; however, during the time period of March 30, 2020, through

July 13, 2020, the total inflows into this account only totaled $8,250. These inflows above are not


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from customer receipts and account activity does not contain transactions typically indicative of

an operating business, such as expenditures for payroll, utilities, or rent.

       48.     Account #6 was opened in March 2020. Danny Walters is the original signor on the

account. Between March 30, 2020, and October 30, 2020, there was minimal account activity, and

that activity does not contain any transactions indicative of an operating business, such as customer

receipts, expenditures for payroll, utilities, or rent. Between June 8, 2020 and September 21, 2020,

there were two transfers of criminal proceeds from fraudulent SBA EIDL loans into Account #6 –

specifically, $25,000 from Account #5 on July 29, 2020, and $10,000 from Account #7 on August

3, 2020 (as discussed below, these are proceeds of the fraudulent Black Enterprise Corporation

LLC loan). In addition, on August 19, 2020, there was a $10,000 transfer from Account #6 into

another account at Regions Bank. See Attachment B.

       49.     As set forth above, as of the date of this affidavit, the balance in Account #5 is

$3,474.18 and the balance in Account #6 is $25,782.33.

       50.     In sum, I believe that there is probable cause to seize all of the funds in Account #5

and Account #6 because the funds are subject to forfeiture as proceeds of wire fraud. In addition,

there is probable cause to seize all of the funds in Account #6 because the funds are involved in a

money laundering violation.

The Black Enterprise Corporation LLC loan proceeds - Account #7 (Regions account
ending in #3286) and Account #8 (Regions Bank account ending in #3243)

       51.     As described below, the proceeds from the fraudulent EIDL loan to Black

Enterprise Corporation LLC were deposited into Account #7 and Account #8.

       52.     Account #7 and Account #8 were both opened in March 2020. Demetrice Black is

the original signor on the account documents.
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       53.     On July 28, 2020, there was an ACH transfer in the amount of $149,900 into

Account #7 from “SBAD Treas 310,” which funds are proceeds of the EIDL loan to Black

Enterprise Corporate LLC dated 7/24/2020. According to the loan application dated July 24, 2020,

the company listed Gross Revenues of $625,000. During the time period March 25, 2020, through

July 23, 2020, the inflows into Account #7 only totaled $68,535.92; these inflows do not appear

to be from customer receipts and the account activity does not contain transactions typically

indicative of an operating business, such as expenditures for payroll, utilities, or rent.

       54.     On April 27, 2020 and July 29, 2020, there were two fund transfers of criminal

proceeds from Account #7 into Account #8 of $4,500 and $27,000, respectively. Between April

27, 2020, and September 21, 2020, additional transfers to and from Account #7 and Account #8

and other accounts in this investigation are summarized in Attachment B.

       55.     As set forth above, as of the date of this affidavit, the balance in Account #7 is

$19,540.29 and the balance in Account #8 is $2,977.63.

       56.     In sum, I believe there is probable cause to seize all of the funds in Account #7 and

in Account #8 because the funds are subject to forfeiture as proceeds of wire fraud. In addition,

there is probable cause to seize all of the funds in Account #8 because the funds are involved in a

money laundering violation.

The Total CPA LLC loan proceeds - Account #9 (Regions account ending in #9987) and
Account #10 (Regions account ending in #9995)

       57.     As described below, the proceeds from the fraudulent EIDL loan to Total CPA LLC

were deposited into Account #9 and Account #10.

       58.     Account # 9 and Account #10 were opened in August 2020. Terrell Alexander is

the original signor on the account documents. There was limited activity in both accounts.
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       59.     On August 11, 2020, there was an ACH transfer from “SBAD Treas 310” into

Account #9 in the amount of $111,800, which funds are proceeds of the EIDL loan to Total CPA

LLC dated 8/7/2020. According to the loan application dated August 7, 2020, the company listed

Gross Revenues of $303,177. Prior to the deposit of the EIDL loan proceeds, inflows consisted of

the opening cash deposits and did not contain credits from customer receipts and debit transactions

are not indicative of an operating business, such as expenditures for payroll, utilities, rent, or

supplies.

       60.     On August 12, 2020, there was a $100,000 transfer of criminal proceeds from

Account #9 into Account #10. These funds are a portion of the proceeds from the fraudulent EIDL

loan to Total CPA LLC and are summarized in Attachment B.

       61.     As set forth above, as of the date of this affidavit, the balance in Account #9 is

$12,293.00 and the balance in Account #10 is $100,493.00.

       62.     In sum, I believe there is probable cause to seize all of the funds in Account #9 and

in Account #10 because the funds are subject to forfeiture as proceeds of wire fraud. In addition,

there is probable cause to seize all of the funds in Account #10 because the funds are involved in

a money laundering violation.

The Corporate Enterprise Investments LLC loan proceeds – Account #11 (Regions account
ending in #6053) and Account #12 (Regions account ending in #6045)

       63.     As described below, the proceeds from the fraudulent EIDL loan to Corporate

Enterprise Investments LLC were deposited into Account #11 and Account #12.

       64.     Account #11 was opened in May 2020. Cecil Jones is the original signor on the

account documents. On August 11, 2020, there was a $149,900 ACH transfer from “SBAD Treas

310” into Account #11, which are the proceeds from the Corporate Enterprise Investments LLC
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EIDL fraudulent loan dated 8/7/2020. The loan application dated July 25, 2020, listed gross

revenues of $429,723. During the time period of May 5, 2020, through August 11, 2020, inflows

into Account #11 totaled $37,514.25, and these inflows are not from customer receipts and account

activity does not contain transactions typically indicative of an operating business, such as

expenditures for payroll, utilities, or rent.

        65.     Account #12 was opened in May 2020. Cecil Jones is the original signor on the

account documents. Between May 5, 2020, and October 30, 2020, there was minimal account

activity and does not contain any transactions indicative of an operating business, such as customer

receipts, expenditures for payroll, utilities, or rent. Between August 11, 2020, and October 2,

2020, there were four transfers netting $7,033.64 from Account #11 into Account #12, which funds

represent a portion of the proceeds of the Corporate Enterprise Investments LLC fraudulent loan.

In addition, on September 8, 2020, there was a $52,000 transfer from Account #16 into Account

#12, which funds represent a portion of the proceeds of the Jones Corporate Manufacturing LLC

fraudulent loan. Other transfers between these accounts are summarized in Attachment B.

        66.     As set forth above, as of the date of this affidavit, the balance in Account #11 is

$5,846.89 and the balance in Account #12 is $131,652.95.

        67.     In sum, I believe there is probable cause to seize all of the funds in Account #11

and in Account #12 because the funds are subject to forfeiture as proceeds of wire fraud. In

addition, there is probable cause to seize all of the funds in Account #12 because the funds are

involved in a money laundering violation.

The JCC Personnel Management Company LLC loan proceeds - Account #13 (Regions
account ending in #9855)


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        68.     As described below, the proceeds from the fraudulent EIDL loan to JCC Personnel

Management Company LLC were deposited into Account #13.

        69.     Account #13 was opened on in July 2020. Joe Cohen is the original signor on the

account documents. Between July 30, 2020, and October 27, 2020 the account had limited activity.

        70.     On August 12, 2020, there was an ACH transfer from “SBAD Treas 310” in the

amount of $121,100, which represents the proceeds from the JCC Personnel Management

Company LLC EIDL fraudulent loan dated 8/10/2020. According to the loan application dated

July 30, 2020, the company listed Gross Revenues of $339,899. During the time period of July

31, 2020, through August 12, 2020, inflows into Account #13 consisted of a $100 cash deposit to

open the account and the above mentioned EIDL proceeds. Transaction in the account are not

indicative of an operating business, such as customer receipts, expenditures for payroll, utilities,

rent, or supplies.

        71.     As set forth above, as of the date of this affidavit, the balance in Account #13 is

$56,467.41.

        72.     In sum, I believe there is probable cause to seize all of the funds in Account #13

because the funds are subject to forfeiture as proceeds of wire fraud.

The Top Knotch Marketing LLC loan proceeds - Account #14 (Regions Bank account
ending in #9979)

        73.     As described below, the proceeds from the fraudulent EIDL loan to Top Knotch

Marketing LLC were deposited into Account #14.

        74.     Account #14 was opened on August 6, 2020, Joe Cohen is the original signor on

the account documents.


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        75.      On August 31, 2020, there was an ACH transfer from “SBAD Treas 310” into

Account #14 in the amount of $110,000, which represents the proceeds from the Top Knotch

Marketing LLC EIDL fraudulent loan dated August 27, 2020. According to the loan application

dated August 7, 2020, the company listed Gross Revenues of $279,999. During the time period

of August 7, 2020, through August 31, 2020, inflows into Account #14 consisted of a $100 cash

deposit to open the account and the above mentioned EIDL proceeds, and did not contain

transactions indicative of an operating business, such as customer receipts expenditures for payroll,

utilities, rent, or supplies.

        76.      As set forth above, as of the date of this affidavit, the balance in Account #14 is

$41,339.37.

        77.      In sum, I believe there is probable cause to seize all of the funds in Account #14

because the funds are subject to forfeiture as proceeds of wire fraud.

The Jones Corporate Manufacturing LLC loan proceeds – Account #15 (Regions account
ending in #3227) and Account #16 (Regions Bank account ending in #3359)

        78.      As described below, the proceeds from the fraudulent EIDL loan to Jones Corporate

Manufacturing LLC were deposited into Account #15 and Account #16.

        79.      Account #15 and Account #16 was opened in June 2020. Brittaney Jones is the

original signor on the account documents.

        80.      On September 2, 2020, there was an ACH transfer in the amount of $133,900 from

“SBAD Treas 310” into Account #16, which represent the proceeds from the Jones Corporate

Manufacturing LLC fraudulent EIDL loan dated 8/31/2020.             As described above, the loan

application was submitted using a false or fraudulent social security number. According to the

loan application dated August 13, 2020, the company listed Gross Revenues of $347,239. During
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the time period of June 30, 2020, through August 31, 2020, the inflows into Account #16 only

totaled $3,500. Activity in Account #15 and Account #16 does not contain any transactions

typically indicative of an operating business, such as customer receipts, expenditures for payroll,

utilities, rent, or supplies.

        81.       On September 8, 2020, Account #15 received a $3,000 funds transfer from Account

#16. These funds are proceeds from the EIDL fraudulent loan received by Jones Corporate

Manufacturing LLC.

        82.       Between July 7, 2020, and September 8, 2020, transfers to and from Account #15

and Account #16 and other accounts in this investigation are summarized in Attachment B.

        83.       As set forth above, as of the date of this affidavit, the balance in Account #15 is

$714.11 and the balance in Account #16 is $53,152.81.

        84.       In sum, I believe there is probable cause to seize all of the funds in Account #15

and in Account #16 because the funds are subject to forfeiture as proceeds of wire fraud and

identity theft.

The Qutumn Management LLC loan proceeds – Account #17 (Unify Financial Credit Union
membership ending #0285)

        85.       As described below, the proceeds from the fraudulent EIDL loan to Qutumn

Management LLC were deposited into Account #17.

        86.       Account #17 was opened in January 2017. Terrell Alexander is the original signor

on the account documents.

        87.       On July 29, 2020, there was an ACH transfer in the amount of $149,900 from

“SBAD Treas 310” into Account #17, which represent the proceeds from the Qutumn Management

LLC fraudulent EIDL loan. According to the loan application dated July 28, 2020, the company
                                                  28
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listed Gross Revenues of $389,874 and Cost of Goods Sold of $39,543. However, the account had

no activity and does not contain any transactions typically indicative of an operating business, such

as customer receipts, expenditures for payroll, utilities, rent, or supplies.

       88.     As set forth above, the balance in Account #17 was $149,900, and the funds were

being held by Unify Financial Credit Union in a general ledger / suspense account. Your affiant

discovered that Unify Financial Credit Union subsequently returned the funds to SBAD TREAS.

As such, the Government is not seeking a warrant to seize these funds.

Florentine Investment LLC - Account #18 (Regions account ending in #8583) and Account
#19 (Regions account ending in #8621)

       89.     Account #18 and Account #19 were opened in July 2019. Terrell Alexander is the

original signor on the account documents. There was limited activity in both accounts.

       90.     On August 20, 2020, there was a transfer from Account #3 to Account #18 in the

amount of $20,000. These funds were proceeds from the JCC Personnel Management Company

EIDL fraudulent loan.

       91.     On July 10, 2020, there was a transfer from Account #3 to Account #19 in the

amount of $25,000. These funds were proceeds from the Direct Management LLC EIDL

fraudulent loan. On September 1, 2020, there was a transfer from Account #14 to Account #19 in

the amount of $32,645. These funds were proceeds from the Top Knotch Marketing LLC EIDL

fraudulent loan.

       92.     The activity in both accounts do not contain any transactions indicative of an

operating business, such as customer receipts, expenditures for payroll, utilities, rent, or supplies.




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       93.     In sum, I believe there is probable cause to seize funds up to $20,000 in Account

#18 and funds up to $57,645 in Account #19 because the funds are subject to forfeiture as proceeds

of wire fraud and identity theft and because the funds are involved in a money laundering violation.

Ivan Carter d/b/a Carter Corporate Healthcare LLC – Account #20 (Regions account ending
in #3183

       94.     Account #20 was opened in September 2020. Ivan Carter is the original signor on

the account documents. Carter was accompanied by Terrell Alexander when this account was

opened.

       95.     As shown above, an SBA EIDL loan application dated 07/02/2020 in the name of

Ivan Carter, lists 9 employees and a gross revenue of $172,000 for 12 months prior to the disaster.

A search of State of Missouri employment records revealed no data on file relative to Carter or the

business, Carter Corporate Healthcare LLC. The loan was executed on 07/04/2020, while Carter

Corporate Healthcare LLC was established on 07/19/2020.

       96.     On July 7, 2020, there was an ACH transfer from “SBAD Treasury 310” in the

amount of $63,400 into account 65715-23 held at Chicago Municipal Employees Credit Union.

Ivan Carter is the sole owner of the account. These funds were proceeds from the Ivan Carter

EIDL fraudulent loan.

       97.     On July 7, 2020, there was a $30,000 transfer from account 65715-23 to sub-

account 65715-01. These funds represent a portion of the fraudulent proceeds from the Ivan Carter

EIDL loan.

       98.     On July 21, 2020, there were two withdrawals in the amount of $33,939.41 and

$29,500 from accounts 65715-23 and 65715-01, respectively. These withdrawals funded the


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Sworn to, attested to, and affirmed before me via reliable electronic means pursuant to Federal
Rules of Criminal Procedure 4.1 and 41 this             day of March, 2021.




                                                    The Honorable Shirley P. Mensah
                                                    United States Magistrate Judge
                                                    Eastern District of Missouri




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                                ATTACHMENT A

                     LIST OF PROPERTY TO BE SEIZED

Account #20    Up to $52,613.18 in money, funds, and financial instruments deposited or
               credited to Regions Bank account ending in #3183 held in the name of
               Ivan Carter d/b/a Carter Corporate Healthcare LLC




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                              ATTACHMENT B

                    Summary of Transfers between accounts




                                     1
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                                     2
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